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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                               COVINGTON DIVISION


INLAND MARINE SERVICE, INC.                         Civil No. _______________________

        Plaintiff                                   IN ADMIRALTY

v.

GREAT NORTHERN & SOUTHERN
NAVIGATION CO. LLC FRENCH
AMERICA LINE
700 Churchill Parkway
Fairfield, LA 70094

        Serve:
        DAVID CHRISTOPHER TIDMORE
        Registered Agent
        3104 Roberta St.
        Metairie, LA 70003

        and

M/V LOUISIANE, Official No.
1023608, in rem

        Defendants.

                               COMPLAINT IN ADMIRALTY

        COMES NOW Plaintiff Inland Marine Service, Inc., by and through counsel, and for its

Complaint in Admiralty against Defendants Great Northern & Southern Navigation Co. LLC

French America Line, in personam, and the M/V Louisiane, Official No. 1023608, her engines,

tackle, appurtenances, etc. in rem                             hereby states as follows:

     1. This is an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal

        Rules of Civil Procedure. This Court has jurisdiction pursuant to 28 U.S.C. § 1333.
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     Plaintiff Inland Marine Service, Inc.                    is a Kentucky corporation with its

     principle place of business located in Hebron, Kentucky.

  3. Defendant Great Northern & Southern Navigation Co. LLC French American Line

                                                                                        with its

     principal place of business in Jefferson Parish, Louisiana.

  4. Defendant M/V Louisiana (Official No. 1023608) is a passenger vessel owned by FAL.

  5. On May 13, 2016, Inland Marine and FAL entered a Marine Services Agreement



  6. Venue is proper pursuant to the venue selection clause set forth in Section 5 of the

     Agreement identifying this Honorable Court as the sole and exclusive venue for any

     disputes arising out of the Agreement.

  7. Pursuant to the terms of the Agreement, Inland Marine provided necessaries and marine

     services to FAL and the M/V Louisiane, including, but not limited to, crewing,

     management, vessel security, and other services.

  8. At all times relevant herein, Inland Marine acted in compliance with the terms and

     conditions of the Agreement.

  9. The Agreement requires FAL to compensate Inland Marine for its services in accordance

     with Section B of the Agreement and in the amounts outlined in Exhibit A to the

     Agreement.

  10. FAL has and continues to breach the Agreement by failing to make payment to Inland

     Marine for its services as required by the Agreement.
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          On October 25, 2017, FAL acknowledged $1,565,082.10 was owed to Inland Marine

          under the Agreement and agreed to pay the amount owed over 36 months at an interest

          rate of 10% beginning in December 2017.

    12. To date, FAL has made only a single payment on April 23, 2019 in the amount of

          $12,910.65, with all other amounts and interest remaining due.

    13. The services provided by Inland Marine pursuant to the Agreement constitute services to

          the M/V Louisiane, which, by operation of law, gives rise to a maritime lien for all

          outstanding amounts plus interest.

    14. A Notice of Claim of Lien was registered with the Coast Guard.

    15.

    16. Pursuant to general maritime law and/or the Federal Maritime Lien Act, 46 U.S.C. §

          31301, et seq., Inland Marine has a maritime lien against the M/V Louisiane, in rem,

          which it is asserting herein and is entitled to have this Court recognize and seeks




          WHEREFORE, Plaintiff Inland Marine Service, Inc. respectfully requests that

Defendants Great Northern & Southern Navigation Co. LLC French America Line, in personam,

and the M/V Louisiane, Official No. 1023608, her engines, tackle, appurtenances, etc., in rem, be

cited to appear and answer, and, after a trial on the merits of this cause, that judgment be entered

in its favor as follows:

          a.     Actual damages in excess of the minimum jurisdictional limits of this Court;

          b.

          c.     Pre-judgment interest at the maximum legal rate;
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              Post-judgment interest at the maximum legal rate;

       e.     Costs of court; and

       f.     Such other and further relief, special and general, legal and equitable, to which

              Plaintiff may justly be entitled

       Plaintiff further prays that its maritime tort lien against the M/V Louisiane, in rem, be

recognized by the Court and seeks judgment against the vessel herein for all damages, plus

                                                             her engines, tackle, apparel, etc., be

seized, condemned and sold to pay such sums, and for such other general and equitable relief as

this Honorable Court deems proper.



                                             Respectfully submitted,

                                              s/ Todd M. Powers___________________
                                             Todd M. Powers (KY #83887)
                                             Megan A. Sullivan (KY #92830)
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